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     JOHN R. MANNING (SBN 220874)
 1   ATTORNEY AT LAW
 2
     1111 H Street, # 204
     Sacramento, CA. 95814
 3   (916) 444-3994
     Fax (916) 447-0931
 4
     Attorney for Defendant
 5
     VI A. LE
 6
                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                       )       No. CR. S-10-443-TLN
 9
                                                     )
                                                     )
10          Plaintiff,                               )       STIPULATION AND ORDER
                                                     )       CONTINUING JUDGMENT
11
     v.                                              )       SENTENCING
                                                     )
12
     VI A. LE,                                       )
                                                     )       Date: August 13, 2015
13
                                                     )       Time: 9:30 a.m.
            Defendant.                               )       Judge: Troy L. Nunley
14
                                                     )
                                                     )
15
                                                     )
16

17

18          The parties hereby stipulate the following:
19          1. Judgment and sentencing in this matter is presently set for June 18, 2015. Counsel
20               for the parties request the date for judgment and sentencing be continued to
21               August 13, 2015 at 9:30 a.m. Counsel for Mr. Le needs additional time to research
22               and draft the defendant's sentencing memorandum. Additionally, counsel for Mr. Le
23               has identified an additional witness who has information relevant to Mr. Le's
24               sentencing. Counsel for Mr. Le needs additional time to interview this witness and
25               incorporate this witness' information into the defendant's sentencing memorandum.
26               Assistant U.S. Attorney Christiaan Highsmith and USPO Paul Mamaril have been
27               advised of this request and have no objection. The parties request the Court adopt the
28               following schedule pertaining to the presentence report:


                                                         1
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 1
               Judgment and Sentencing date:                                    8/13/15
 2
               Reply, or Statement of Non-Opposition:                           8/6/15
 3
               Motion for Correction of the Presentence Report
 4
               Shall be filed with the Court and served on the
 5             Probation Officer and opposing counsel no later than:            n/a

 6             The Presentence Report shall be filed with the Court
 7
               And disclosed to counsel no later than:                          n/a

 8             Counsel’s written objections to the Presentence Report
               Shall be delivered to the probation officer and opposing
 9             Counsel no later than:                                           n/a
10
               The Presentence Report shall be filed with the Court
11             And disclosed to counsel no later than:                          n/a
12

13      IT IS SO STIPULATED.

14   Dated: June 3, 2015                                          /s/ John R. Manning
                                                                 JOHN R. MANNING
15
                                                                 Attorney for Defendant
16                                                               Vi A. Le

17
     Dated: June 4, 2015                                         Benjamin B. Wagner
18
                                                                 United States Attorney
19
                                                        by:      /s/ Christiaan Highsmith
20                                                               CHRISTIAAN HIGHSMITH
                                                                 Assistant U.S. Attorney
21

22
                                                ORDER
23

24
            IT IS SO FOUND AND ORDERED this 4th day of June, 2015.
25

26

27

28                                                            Troy L. Nunley
                                                              United States District Judge

                                                    2
